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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

 In re:                                     )
                                            )
 11380 SMITH ROAD, LLC,                     )     Case No. 18-10965
 EIN: XX-XXXXXXX,                           )     Chapter 11
                                            )
         Debtor.                            )
                                           )
  _____________________________________________________________________________

                                     RESERVATION OF RIGHTS


         COMES NOW 11380 East Smith RD Investments, LLC (the “Lender”), by and through
 its undersigned counsel, for its Reservation of Rights regarding the Debtor’s Second Amended
 Plan of Reorganization.

                                              Background

         1.     On May 15, 2018, the Parties entered into that certain Stipulated Agreement
 regarding, inter alia, the treatment of Lender’s claim during this Chapter 11 case and Lender’s
 rights and remedies upon the occurrence or non-occurrence of certain events in this Chapter 11
 case (Docket No. 98-2) (the “Agreement”).

          2.        Section 6 of the Agreement states:

          CHAPTER 11 PLAN. Lender will be deemed to have consented to the terms of
          any Chapter 11 plan for which the Debtor seeks confirmation provided that any
          such plan: (i) expressly incorporates the terms of this Agreement; (ii) does not
          conflict with the terms of this Agreement; and (iii) does not otherwise affect, impair
          or prejudice Lender’s rights under the Loan Documents.

          (Docket No. 98-2 at § 6) (emphasis in the original).

       3.      On June 29, 2018, the Court entered its Order Approving the Agreement in full.
 (Docket No. 110).

        4.      On July 11, 2018, the Debtor filed its: (i) Amended Plan of Reorganization (Docket
 No. 112) (the “Plan”); and (ii) Amended Disclosure Statement (the “Disclosure Statement”).

        5.      On August 30, 2018, the Court denied approval of the adequacy of the Disclosure
 Statement and required that the Debtor amend its Plan and Disclosure Statement to address various
 concerns raised by the Court (Docket No. 121) (the “Disclosure Statement Hearing”).




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        6.      On the record at the Disclosure Statement Hearing, counsel for Lender requested
 two additional changes be incorporated into the Plan that would further effectuate the terms of the
 Agreement.

        7.      On September 20, 2018, the Debtor filed its: (i) Second Amended Plan of
 Reorganization (Docket No. 123) (the “2nd Amended Plan”); and (ii) Second Amended
 Disclosure Statement (Docket No. 124) (the “2nd Amended Disclosure Statement”).

        8.      The 2nd Amended Plan did not contain the two additional changes requested by
 Lender on the record at the Disclosure Statement Hearing.

        9.     On September 24, 2018, the Court entered its Order Approving Disclosure
 Statement and Setting Confirmation Hearing.

        10.     On October 25, 2018, the Lender filed its Motion to Approve Stipulation Regarding
 Second Amended Plan of Reorganization (Docket No. 132) (the “Motion to Approve
 Stipulation”).

         11.      The Motion to Approve Stipulation clarifies that to the extent anything in the 2nd
 Amended Plan conflicts with the terms of the Agreement, then the Agreement shall govern and
 control in all circumstances.

                                       Reservation of Rights

         12.    Lender hereby reserves the right to oppose confirmation of the 2nd Amended Plan
 at any hearing thereon if the Court ultimately denies the Motion to Approve Stipulation.

 Dated:             Denver, Colorado
                    October 25, 2018
                                              MOYE WHITE LLP

                                              s/ Timothy M. Swanson
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 25, 2018, I electronically filed the foregoing with the clerk
 of the court using the CM/ECF system, which will send notification of such filing to all parties
 receiving electronic notice from the Court’s CM/ECF system.

                                                s/ Timothy M. Swanson




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